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                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT
                                 100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt              POTTER STEWART U.S. COURTHOUSE                   Tel. (513) 564-7000
       Clerk                        CINCINNATI, OHIO 45202-3988                 www.ca6.uscourts.gov




                                                   Filed: May 31, 2019


Mr. Andrew J. Doyle
U.S. Department of Justice
Environment & Natural Resources Division
P.O. Box 7611
Washington, DC 20044

Mr. Lawrence Scott Helkowski
Office of the Attorney General
of Ohio
30 E. Broad Street
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Columbus, OH 43215

Ms. Rebecca J. Riley
Natural Resources Defense Council
20 N. Wacker Drive
Suite 1600
Chicago, IL 60606

                     Re: Case No. 19-3500, State of Ohio, et al v. EPA, et al
                         Originating Case No. : 2:15-cv-02467

Dear Counsel,

   This appeal has been docketed as case number 19-3500 with the caption that is enclosed on a
separate page. The appellate case number and caption must appear on all filings submitted to the
Court. If the filing fee was not paid when the notice of appeal was filed, it must be paid to the
district court immediately.

   Before preparing any documents to be filed, counsel are strongly encouraged to read the Sixth
Circuit Rules at www.ca6.uscourts.gov. If you have not established a PACER account and
registered with this court as an ECF filer, you should do so immediately. Your password for
district court filings will not work in the appellate ECF system.
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    At this stage of the appeal, the following forms should be downloaded from the web site and
filed with the Clerk's office by June 14, 2019. Additionally, the transcript order must be
completed by that date.

NOTE: Effective July 18, 2016, all attorneys must order transcript for appeal by using the
CM/ECF docket entries. The transcript order form used prior to that date will not be accepted
after July 18. For further information and instructions on ordering transcript electronically,
please visit the court's website.

                                 Appearance of Counsel
                   Appellant:    Civil Appeal Statement of Parties & Issues
                                 Disclosure of Corporate Affiliations
                                 Application for Admission to 6th Circuit Bar (if applicable)

                                 Appearance of Counsel
                   Appellee:     Disclosure of Corporate Affiliations
                                 Application for Admission to 6th Circuit Bar (if applicable)

    More specific instructions are printed on each form. If appellant's initial forms are not timely
filed or necessary fees paid, the appeal will be dismissed for want of prosecution. If you have
questions after reviewing the forms and the rules, please contact the Clerk's office for assistance.

                                                  Sincerely yours,

                                                  s/Roy G. Ford
                                                  Case Manager
                                                  Direct Dial No. 513-564-7016


Enclosure
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             OFFICIAL COURT OF APPEALS CAPTION FOR 19-3500




STATE OF OHIO; STATE OF TENNESSEE

          Plaintiffs - Appellants

v.

UNITED STATES ENVIRONMENTAL PROTECTION AGENCY; UNITED STATES ARMY
CORPS OF ENGINEERS; ASST. SECRETARY JO-ELLEN DARCY, in her official capacity
as Assistant Secretary of the Army (Civil Works); ADMINISTRATOR GINA MCCARTHY, in
her official capacity as Administrator, U.S. E.P.A.

          Defendants - Appellees

NATURAL RESOURCES DEFENSE COUNCIL, INC.; NATIONAL WILDLIFE
FEDERATION

          Intervenors - Appellees
